            Case 2:13-cr-00050-RSL          Document 172       Filed 04/29/13      Page 1 of 1




 1                                            THE HONORABLE JUDGE ROBERT S. LASNIK
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 7                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE
 9   UNITED STATES OF AMERICA,         )
                                       )                   Case No. 02:13-CR-00050-RSL
10                          Plaintiff, )
                                       )
11        v.                           )                   ORDER GRANTING WITHDRAWAL
                                       )                   AND SUBSTITUTION OF ATTORNEY
12   ELVIA FRAGOSO-AMADOR,             )
                                       )
13                         Defendant. )
                                       )
14

15                This matter comes before the Court on the motion of Michelle Peterson for leave to
16   withdraw and substitute Kenneth Therrien as counsel of record (Dkt. # 171). Having reviewed
17   the motion and remainder of the record, the Court GRANTS the motion to withdraw and
18   substitute Kenneth Therrien as the attorney of record for Ms. Elvia Fragoso-Amador.
19            DATED this 29th day of April, 2013.
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                                                           A
                                                           Robert S. Lasnik
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                                                           United States District Judge
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27
     ORDER GRANTING WITHDRAWAL                                                    LANE POWELL PC
                                                                           1420 FIFTH AVENUE, SUITE 4100
     AND SUBSTITUTION OF ATTORNEY - 1                                    SEATTLE, WASHINGTON 98101-2338
     Case No. 02:13-CR-00050-RSL                                            206.223.7000 FAX: 206.223.7107

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